       Case 7:20-cv-00381 Document 28 Filed on 09/24/21 in TXSD Page 1 of 6
                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                             ENTERED
                                                                                        September 24, 2021
                                UNITED STATES DISTRICT COURT
                                                                                         Nathan Ochsner, Clerk
                                 SOUTHERN DISTRICT OF TEXAS
                                      MCALLEN DIVISION

UNITED STATES OF AMERICA,                                 §
                                                          §
VS.                                                       § CIVIL ACTION NO. 7:20-CV-00381
                                                          §
0.996 ACRES OF LAND, MORE OR                              §
LESS, et al,                                              §
                                                          §
           Defendants.                                    §

                                            FINAL JUDGMENT

         On November 23, 2020, pursuant to the Declaration of Taking Act (40 U.S.C. § 3114), and

Federal Rule of Civil Procedure 71.1, the United States filed a Complaint in Condemnation1 and

a Declaration of Taking2 to acquire a fee interest in a 0.996 acre tract of land, identified as Tract

RGV-RGC-5041, for purposes of the border infrastructure project in Starr County, Texas.3

         Having considered the evidence on title and just compensation in the record, the Court

enters final judgment in this condemnation action in accordance with Federal Rule of Civil

Procedure 54, and accordingly, the following is hereby ORDERED:

    1. The full and just compensation payable by the United States for the taking of Tract RGV-

         RGC-5041 is the sum of one thousand, eight hundred, fifty and 00/100 dollars ($1,850.00),

         determined by the Court in its Findings on Issue of Just Compensation4 , plus any accrued

         interest, which sum is all inclusive and in full satisfaction of any claims of whatsoever

         nature against the United States for the institution and prosecution of the above-captioned

         action by Eligio Alvarez, Jr., Felipe Adan Alvarez, Unknown Heirs and/or Devisees of


1 Dkt. No. 1.
2 Dkt. No. 2.
3 Schedules “C”, “D,” and “E,” Dkt. Nos. 1-1 at 6-16; 2-1 at 6-16.
4 Dkt. No. 25.

1/6
       Case 7:20-cv-00381 Document 28 Filed on 09/24/21 in TXSD Page 2 of 6




         Maria Louisa Arredondo, and Elizabeth Crymes Manning, Trustee for Williams Robert

         Manning,      Jr.   and     Mary         Virginia   Manning   (collectively,   hereafter   “Landowner

         Defendants”)—the landowner defendants determined by the Court as having an interest in

         just compensation in its Order Determining Title as to Tract RGV-RGC-5041.5

    2. Judgment is hereby entered against the United States in the amount of one thousand, eight

         hundred, fifty and 00/100 dollars ($1,850.00) plus any accrued interest for the taking of

         Tract RGV-RGC-5041.

    3. On December 7, 2020, the United States deposited a check in the amount of one thousand,

         eight hundred, fifty and 00/100 dollars ($1,850.00)6 and upon said deposit, title to Tract

         RGV-RGC-5041 vested in the United States by operation of law under the Declaration of

         Taking Act.

    4. The United States shall be and is hereby entitled to immediate possession of Tract RGV-

         RGC-5041, and all persons in possession or control of the interests taken in this property

         are hereby ORDERED to surrender possession of same to the United States of the

         condemned estate7 :

                          The estate taken is fee simple, subject to existing easements for
                  public roads and highways, public utilities, railroads, and pipelines; and
                  subject to all interests in minerals and appurtenant rights for exploration,
                  development, production and removal of said minerals;

                          Reserving to the owners of land described in conveyance
                  recorded with Deed Records of Starr County, Texas, volume 691, page
                  312, reasonable access to and from the owners’ lands lying between the
                  Rio Grande River and the border barrier through opening(s) or gate(s) in
                  the border barrier between the westernmost mark labeled “Beginning”
                  and easternmost mark labeled “Ending” depicted on the map [in Schedule
                  E of the Declaration of Taking];


5 Dkt. No. 23.
6 Dkt. No. 5.
7 Schedule “E,” Dkt. Nos. 1-1 at 15; 2-1 at 15.

2/6
         Case 7:20-cv-00381 Document 28 Filed on 09/24/21 in TXSD Page 3 of 6




                             Excepting and excluding all interests in water rights and water
                    distribution and drainage systems, if any, provided that any surface rights
                    arising from such water rights or systems are subordinated to the United
                    States’ construction, operation, and maintenance of the border barrier.

       5. The total of one thousand, eight hundred, fifty and 00/100 dollars ($1,850.00), plus any

           accrued interest, which sum is in full satisfaction of any claims of whatsoever nature by

           the Landowner Defendants, shall be subject to all taxes, liens, encumbrances, and charges

           of whatsoever nature existing against the interests in the property taken in this proceeding

           at the time of vesting of title in the United States, and all such real estate taxes, liens,

           encumbrances, and charges of whatsoever nature shall be payable to the taxing authority

           and deductible from this amount, including the outstanding delinquent ad valorem taxes

           or assessments owing as to Tract RGV-RGC-5041 under the following account8 :

                    Account Number: 001125 in the amount of Thirty Eight and 24/100 Dollars
                    ($38.24) as of December 2020, owed to Defendant Ameida Salinas, Starr County
                    Tax Assessor-Collector.

       6. The full amount of just compensation remains on deposit in the registry of the Court. The

           Clerk of Court shall now, without further order of the Court, disburse the total sum of one

           thousand, eight hundred, fifty and 00/100 dollars ($1,850.00) plus any accrued

           interest earned thereon while on deposit, payable to the order of the following parties:

                    i.     $38.24 to Starr County Tax Office for delinquent taxes and assessments
                           owed under Tax. Acct. 001125 on the date of taking.

                    ii.    $543.20, plus accrued interest, will remain on deposit in the Court’s
                           registry, pursuant to 28 U.S.C. § 2042, on account of the 37.5% ownership
                           interest in Parent Parcel 21-A and 25% ownership interest in Parent Parcel
                           31-A of Eligio Alvarez, Jr. who could not be located.
                           This amount shall remain on deposit in the registry of the Court accruing
                           interest as provided in 40 U.S.C. § 3116, but shall be paid into the
                           Treasury of the United States without further order of the Court five (5)
                           years from entry of this Final Judgment in accordance with 40 U.S.C. §
                           2042, if said amount is not withdrawn from the registry of the Court. Any

8   Dkt. No. 20-13 at 1.
3/6
      Case 7:20-cv-00381 Document 28 Filed on 09/24/21 in TXSD Page 4 of 6




                    person or entity claiming entitlement to such funds shall first move
                    the Court for an order of disbursement before such funds may be
                    distributed.

             iii.   $543.20, plus accrued interest, will remain on deposit in the Court’s
                    registry, pursuant to 28 U.S.C. § 2042, on account of the 37.5% ownership
                    interest in Parent Parcel 21-A and 25% ownership interest in Parent Parcel
                    31-A of Felipe Adan Alvarez who could not be located.
                    This amount shall remain on deposit in the registry of the Court accruing
                    interest as provided in 40 U.S.C. § 3116, but shall be paid into the
                    Treasury of the United States without further order of the Court five (5)
                    years from entry of this Final Judgment in accordance with 40 U.S.C. §
                    2042, if said amount is not withdrawn from the registry of the Court. Any
                    person or entity claiming entitlement to such funds shall first move
                    the Court for an order of disbursement before such funds may be
                    distributed.

             iv.    $547.35, plus accrued interest, will remain on deposit in the Court’s
                    registry, pursuant to 28 U.S.C. § 2042, on account of the 50% ownership
                    interest in Parent Parcel 31-A of Elizabeth Crymes Manning, Trustee
                    for Williams Robert Manning, Jr. and Mary Virginia Manning who
                    could not be located.
                    This amount shall remain on deposit in the registry of the Court accruing
                    interest as provided in 40 U.S.C. § 3116, but shall be paid into the
                    Treasury of the United States without further order of the Court five (5)
                    years from entry of this Final Judgment in accordance with 40 U.S.C. §
                    2042, if said amount is not withdrawn from the registry of the Court. Any
                    person or entity claiming entitlement to such funds shall first move
                    the Court for an order of disbursement before such funds may be
                    distributed.

             v.     $178.01, plus accrued interest, will remain on deposit in the Court’s
                    registry, pursuant to 28 U.S.C. § 2042, on account of the 25% ownership
                    interest in Parent Parcel 21-A of Unknown Heirs and/or Devisees of
                    Maria Louisa Arredondo who could not be located.
                    This amount shall remain on deposit in the registry of the Court accruing
                    interest as provided in 40 U.S.C. § 3116, but shall be paid into the
                    Treasury of the United States without further order of the Court five (5)
                    years from entry of this Final Judgment in accordance with 40 U.S.C. §
                    2042, if said amount is not withdrawn from the registry of the Court. Any
                    person or entity claiming entitlement to such funds shall first move
                    the Court for an order of disbursement before such funds may be
                    distributed.

  7. The Court takes judicial notice that Landowner Defendant Felipe Adan Alvarez was


4/6
       Case 7:20-cv-00381 Document 28 Filed on 09/24/21 in TXSD Page 5 of 6




        personally served with notice9 ; and Landowner Defendants Eligio Alvarez, Jr., Unknown

        Heirs and/or Devisees of Maria Louisa Arredondo, and Elizabeth Crymes Manning,

        Trustee for Williams Robert Manning, Jr. and Mary Virginia Manning were served by

        publication, and service was accomplished as to said Landowner Defendants as evidenced

        by the Certificate of Commencement of Service by Publication, Certificate of

        Publication, and the publisher’s affidavit.10 To date, all 4 Landowner Defendants have

        not entered an appearance to make a claim on the just compensation proceeds on deposit

        in the Court’s Registry for Tract RGV-RGC-5041.

     8. Landowner Defendants and Defendant Ameida Salinas, Starr County Tax Assessor-

        Collector shall be responsible for their own legal fees, costs, and expenses, including

        attorney fees, consultant fees, and any other expenses or costs.

     9. There being no further taxes or assessments due or owing as to Tract RGV-RGC-5041,

        Landowner Defendants are responsible for the payment of any additional taxes or

        assessments which they otherwise owe on the interest in the property taken in this

        proceeding on the date of taking, and are responsible for payment of any additional taxes

        or assessments which they otherwise owe on the remaining whole parcel.

     10. Landowner Defendants shall take no appeal from any rulings or judgments made by the

        Court in this action.

     11. This final judgment is binding on the heirs, trustees, executors, administrators, devisees,

        successors, assigns, agents, and representatives of all named Landowner Defendants in this

        case.


9Dkt. No. 13 (Return of Service- Felipe Adan Alvarez).
10 Dkt. No. 19 (Certificate of Publication- Eligio Alvarez, Jr.); Dkt. No. 15 (Declaration of Not Found - Eligio
Alvarez, Jr.); Dkt. No. 14 (Certificate of Publication- Unknown Heirs and/or Devisees of Maria Louisa Arredondo
and Elizabeth Crymes Manning, Trustee for Williams Robert Manning, Jr. and Mary Virginia Manning).
5/6
      Case 7:20-cv-00381 Document 28 Filed on 09/24/21 in TXSD Page 6 of 6




  12. All issues have been resolved as to Tract RGV-RGC-5041 including any delinquent taxes

       and charges against it. Accordingly, the claims and interests of named defendants

       remaining in this case are hereby resolved and there are no further issues to consider in

       this matter. The Clerk of the Court is ORDERED to close this case.


       SO ORDERED this 24th day of September, 2021, at McAllen, Texas.


                                               ___________________________________
                                               Randy Crane
                                               United States District Judge




6/6    Kathy Nguyen
        9/24/2021
